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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

PHILLIP W. HOKE, HOLLY CHANDLER,
SHEENA C. HERNANDEZ, MICAH JADE
KOKSAL, DANIEL A. REYES, AND JEAN
L. FERGUSON

                     Plaintiffs,

v.                                                         Case No. 5:19-CV-4001-HLT-TJJ

HERBERT J. SWENDER AND GARDEN
CITY COMMUNITY COLLEGE

                     Defendants.

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         The parties to this action, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), stipulate that all claims

asserted in this lawsuit against Defendant Swender only are hereby dismissed without prejudice and

that the parties shall bear their own fees and costs.

/s/ Jeremy K. Schrag                                     /s/ Jean Lamfers (w/consent)
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 4, 2020, the above and foregoing Stipulation of Dismissal was

filed using the court’s CM/ECF system which sent notice to all counsel of record.

                                              /s/ Jeremy K. Schrag
                                              Jeremy K. Schrag




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